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 1                              UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
 4   KEVIN ZIMMERMAN,                                )
                                                     )
 5                       Plaintiff,                  )
           vs.                                       )        Case No.: 2:17-cv-01426-GMN-GWF
 6
                                                     )
 7   BILLY M&M INCORPORATED                          )
     doing business as                               )
 8   Cici's Pizza,                                   )
 9                                                   )
                         Defendant.                  )
10
         ORDER OF DISMISSAL WITHOUT PREJUDICE PURSUANT TO RULE 4(m)
11                OF THE FEDERAL RULES OF CIVIL PROCEDURE
12
           Plaintiff Kevin Zimmerman has failed to show good cause why this action should not be
13
     dismissed without prejudice for failure to effect timely service as to Defendant Billy M&M
14
     Incorporated doing business as Cici's Pizza pursuant to Fed. R. Civ. P. 4(m).
15
           IT IS THEREFORE ORDERED that the action is hereby dismissed without prejudice as
16
     to Defendant Billy M&M Incorporated doing business as Cici's Pizza.
17
           IT IS FURTHER ORDERED that the Clerk of Court shall close this case.
18
19
           DATED this _____
                        7   day of December, 2017.
20
21
22
                                                  ___________________________________
23                                                Gloria M. Navarro, Chief Judge
24                                                United States District Court

25


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